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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00236-GEB
11
                                   Plaintiff,             STIPULATION REGARDING AND [PROPOSED]
12                                                        ORDER REGARDING SURRENDER DATE
                             v.
13
     VANIK MOVSESYAN,
14
                                  Defendant.
15

16
                                                  STIPULATION
17
            1.      Vanik Movsesyan (“Movsesyan”) pleaded guilty to the conspiracy count in the
18
     superseding indictment on October 27, 2017. ECF No. 108. In April, he was sentenced to twenty-one
19
     months incarceration. ECF No. 226. The Court ordered Movsesyan to surrender himself to the United
20
     States Marshall in the Central District of California, or to the institution designated by the Bureau of
21
     Prisons, before 2 o’clock p.m. on June 26, 2018. See id.; ECF No. 241-1 at 24 (transcript of judgment
22
     and sentencing).
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            2.      Following the hearing, Movsesyan noted an appeal of his sentence and moved for bail
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     pending appeal. ECF Nos. 225, 229. This Court denied his motion for bail pending appeal. ECF No.
25
     252.
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            3.      On June 25, 2018, Movsesyan filed a motion for bail pending appeal with the Ninth
27
     Circuit and an accompanying emergency motion for an order authorizing him to remain out of custody
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     pending resolution of his motion pursuant to Ninth Circuit Rule 9-1.2(e). See No. 18-10168, Dkt.

      STIPULATION AND [PROPOSED] ORDER REGARDING          1
30    SURRENDER DATE
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 1 Entries 18 and 19 (9th Cir.). The Ninth Circuit issued an order clarifying that under Circuit Rule 9-

 2 1.2(e) Movsesyan’s bail would remain in effect until the Ninth Circuit ruled on his motion. No. 18-

 3 10168, Dkt. 20.

 4           4.     On July 5, 2018, the government filed an opposition to Movsesyan’s motion for bail

 5 pending appeal and moved to dismiss Movsesyan’s appeal. No. 18-10168 Dkt. Entries 21 and 22.

 6           5.     On July 30, 2018, the Ninth Circuit denied Movsesyan’s motion for bail pending appeal

 7 and dismissed his appeal. See Attachment 1 (No. 18-10168 Dkt. 26 (Order)).

 8           6.     The parties agree and stipulate to the following:

 9                  a)      Because Movsesyan’s motion for bail pending appeal has been denied by the

10           Ninth Circuit, Ninth Circuit Rule 9-1.2(e) is no longer applicable. As such, Movsesyan must

11           begin service of his sentence. Therefore, the parties agree the Court should order that

12           Movsesyan surrender without undue delay to the United States Marshall in the Central District of

13           California or to the facility designated by the Bureau of Prisons.

14                  b)      Counsel for Movsesyan has represented that Movsesyan and his family are

15           making travel arrangements to enable Movsesyan to surrender at the facility designated by the

16           Bureau of Prisons.

17                  c)      The parties agree that Thursday August 2, 2018, at 2:00 p.m. is an appropriate and

18           reasonable surrender date for Movsesyan.

19                  d)      Movsesyan understands that if he fails to surrender for the service of his sentence

20           as ordered, that failure would constitute a separate criminal offense, punishable by a consecutive

21           term of imprisonment and fine.

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        STIPULATION AND [PROPOSED] ORDER REGARDING        2
30      SURRENDER DATE
              Case 2:15-cr-00236-JAM Document 262 Filed 08/01/18 Page 3 of 3


 1          7.      Accordingly, the parties jointly request that the Court issue an order directing Movsesyan

 2 to surrender to the United States Marshall in the Central District of California or to a facility designated

 3 by the Bureau of Prison before 2:00 p.m. on August 2, 2018.

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 5          IT IS SO STIPULATED.

 6
      Dated: July 31, 2018                                   MCGREGOR W. SCOTT
 7                                                           United States Attorney
 8
                                                             /s/ JEREMY J. KELLEY
 9                                                           JEREMY J. KELLEY
                                                             Assistant United States Attorney
10

11

12    Dated: July 31, 2018                                   /s/ DIEGO HANDEL
                                                             DIEGO HANDEL
13
                                                             Counsel for Defendant
14                                                           VANIK MOVSESYAN

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16

17                                                   ORDER

18          The defendant, Vanik Movsesyan, is ordered to surrender himself to the United States Marshal

19 in the Central District of California, or to the institution designated by the Bureau of Prisons, before 2:00

20 p.m. on August 2, 2018.
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22          IT IS SO ORDERED.

23          Dated: August 1, 2018

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      STIPULATION AND [PROPOSED] ORDER REGARDING         3
30    SURRENDER DATE
